        Case 1-15-43716-nhl            Doc 296        Filed 06/04/18     Entered 06/04/18 16:28:03

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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Inre:                                                                  Chapter 7
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JACOB FETMAN aka YAACOV FETMAN,                                        Case No. 15-43716-NHlU\8 JUM -\..\ A \_\: \ '-'

                                    Debtor.
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DEBTOR'S RESPONSE SUPPORTING PRIOR ATTORNEY RACHEL BLUMNEFELD
ESQ. APPLICATION TO WITHDRAW FROM THE CASE AND OBJECTING TO HER
 APPLICATION TO BE REIMBURSED FROM MONEYS HELD BY THE TRUSTEE

        · Jacob Fetman (the "Debtor")states as follows under penalty of perjury:

         1.       I make this response (this "Response") in support of Ms. Blumenfeld's

application to withdraw from the case as attorney of record and I object to her request to be

reimbursed for legal fees from moneys held by the trustee.

         2.       The introduction of Ms. Blumnefeld to the case was as a result of my original

attorney, Mr. David Carlebach, being disbarred, a situation that had nothing to do with my case.

         3.       When I met with Ms. Blumenfeld, I explained the background to the case and

how the $20,000,000 judgment against me was obtained. Essentially, I explained that it was a

result of coercion and manipulation that I signed an arbitration agreement that was worded in

such broad terms ("a dispute") that could have been interpreted as anyone sees fit. Furthermore,

that arbitration agreement was signed on a Sunday (October 13, 2013), which we now know as

the 2nd Dept. of the Appeals court ruled in another case in early 2017, is null and void. However,

Aish's attorneys argued in the Supreme Court, in front of Justice Demarest, that the court has no

jurisdiction to check how the judgment was obtained but rather only confirm it or deny it - if we

can prove criminal acts by the arbitrator. As the sessions were not recorded or attended by court

reporters, there was no proof of gross malice by the arbitrator and consequently Judge Demarest

confirmed the award - finding more than a few troubling issues with how it was obtained but

never the less stating that the appellate division should make the final determination.

                                                           1
      Case 1-15-43716-nhl         Doc 296     Filed 06/04/18    Entered 06/04/18 16:28:03

Unfortunately, at the appellate division the appeal was postponed SEVEN times by my

adversaries so that at length we never actually got the case decided.

       4.         As opposed to Ms. Bumenfelds assurances to me that she will fight the claim,

from day one she pushed me to settle the case. In the very first hearing that Ms. Blumenfeld

attended on my behalf, this court stated that a way for her to get familiar with the case, she

should file a motion of"Objection To Claims". Ms. Blumenfeld did not do so, and after weeks of

my pushing a prodding, and this Court asking her again to file that motion - I took matters to my

own hands and wrote the motion myself, and emailed it to Ms. Blumenfeld to be uploaded on the

court website.

       5.         Since then, Ms. Blumenfeld did not write any motions (other than this one asking

to be paid) and barely gave me the time to discuss the case. She did not attend settlement

discussions and was not available to review and counsel me on the actual settlement - at TWO

court hearings.

       6.         The settlement is NOT something that Ms. Blumenfeld accomplished - to wit - at

the last hearing with Rabbi Cohen, when Rabbi Cohen was told by Aish' s attorney that I had

about $2 million dollars invested in the Platinum Fund - he turned to me saying "why do you

need all that money? You should give it to this charity!" - when I explained that this money

came from me borrowing and mortgaging property - he was not impressed. When he continued

to push me to give Aish the Platinum Fund account I said that I can prove it had nothing to do

with the charity and I added "over my dead body" - to which Aish's Attorney replied "that can

be arranged ... " - my point is that the $20 million judgment is a fake number, based on nothing

but Mr. Rimberg's fertile imagination - as he told me that I will beg them to take only $2 million

dollars after he will finish what he had in mind. That certainly became true, he proved that a

signature of the Rabbi on the award is more valuable than a Supreme Court Judge and several

federal judges - as that award decision can not be appealed. It defies logic that an organization


                                                  2
      Case 1-15-43716-nhl         Doc 296     Filed 06/04/18    Entered 06/04/18 16:28:03

that had an internal budget of 2 - 2.5 million dollars annually, of which the executive director

took $400K in compensation $1.3 million annually could have been 'stolen' by the CFO ?? or

that property that have been in my family for 30 years was "taken from Aish" as the Rabbi

wrote.

         7.    Regardless, Ms. Blumenfeld did not want to try the merits of the claim and it was

our great misfortune that in a single hearing in the summer of 2017, the Honorable Judge Craig

decided not to look any further on the merits of the claim but to accept it and authorize sale of

my parents' properties.

         8.    Once that was done, I felt that there was no further reason to fight and agreed to

settle the case. However, Ms. Blumenfeld was not instrumental and not even present in many of

the discussions that were held directly with Aish and the trustee. On more than a few hearings

she was late to appear, giving everyone and especially me the understanding that she had other

paying clients to attend to, and I was not one of them.

         9.    For these reasons, I strongly support Ms. Blumenfeld's withdrawal from the case

and strongly oppose her request to be paid from money held with the trustee. Further, I feel that

it's a private matter between me and Rachel Blumenfeld and feel very betrayed for her request to

be paid from moneys held by the trustee. Ms. Blumenfeld approaching the trustee to even request

such payment is completely wrong and unauthorized. Such self-serving attempts to collect legal

fees is not what I would expect from anyone and certainly not from Ms. Blumenfeld. Her cozy

relationship.with the trustee further erodes my trust in her.



         Dated: Brooklyn, New York
         June 4th, 2018

                                                       Jacob Fetman




                                                  3
            Case 1-15-43716-nhl            Doc 296        Filed 06/04/18   Entered 06/04/18 16:28:03




 UNITED STATES BANKRUPTCY COURT
 EASTERN DISTRICT OF NEW YORK
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 Inre:                                                              Chapter 7

 JACOB FETMAN,                                                      Case No. 15-43716-NHL

                                    Debtor.
 -----------------------------------------------------x
         CERTIFICATE OF SERVICE BY FIRST CLASS MAIL AND ELECTRONIC MAIL

 State of New York
                           ss.:
 County of Brooklyn

 Jacob Fetman affirms under penalty of perjury and states as follows:

         , I am over the age of 18 and reside in Brooklyn, New York.

 On May 31, 2018 I served the attached DEBTOR'S RESPONSE IN SUPPORT OF TRUSTEE'S
 MOTION FOR AN ORDER AUTHORIZING SALE OF REAL PROPERTY LOCATED AT 4305
 TENTH AVENUE, BROOKLYN, NEW YORK, (a) by first class mJil, by depositing a true copy of
 same in a sealed, post-paid properly addressed wrapper, in an official depository under the exclusive
 care and custody of the United States Postal Service within the State of New York and (b) by electronic
 mail, to the entities set forth on the schedule annexed hereto to the email addresses provided for receipt
 of electronic mail.
 Dated: Brooklyn, New York
         June 4, 2018


 Sworn to before me this




~Notary Public



         RYAN BENNETT
  Notary Public, State of New York
        No. 01 BE6324782
    Qualified in Kings County b
Commission Expires May 11, 20LL
Case 1-15-43716-nhl        Doc 296    Filed 06/04/18    Entered 06/04/18 16:28:03




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